                           Case 1:23-cv-08839-MKV Document 16 Filed 11/21/23 Page 1 of 2
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                                                                       November 21, 2023                                   ELECTRONICALLY FILED
                                                                                                                           DOC #:
    VIA ECF                                                                                                                DATE FILED: 11/21/2023
    The Honorable Mary Kay Vyskocil
    U.S. District Court for the Southern District of New York
    500 Pearl Street, Room 2230
    New York, NY 10007
      RE:                  Danil Mazur, et al. v. UGS Herman, LLC
                           Case No. 1:23-cv-08839-MKV

    Dear Judge Vyskocil:

             In light of Plaintiffs’ decision not to file an Amended Complaint, Defendant’s Motion to Dismiss
    Plaintiffs’ Complaint is ripe for submission. Defendant’s Motion is currently due by November 27, 2023.
    (ECF No. 12). Pursuant to Rule 2(G) of the Court’s Individual Rules of Practice in Civil Cases, Defendant
    files this letter request for two week extension of time to file its Motion to Dismiss, until December 11, 2023.
    The reason for this extension request is to ensure Defendant has a meaningful opportunity to review the Motion
    to Dismiss in light of numerous individuals being out of office for the Thanksgiving holiday. This Defendant’s
    first request for an extension.

             Plaintiffs will not be prejudiced by this extension as they have already filed a request for an extension
    of time to respond to Defendant’s Motion to Dismiss, with a proposed response date of January 2, 2024. As
    such, even with Defendant’s proposed deadline of December 11, 2023 to file its Motion to Dismiss, Plaintiffs
    will still have over three weeks to file a response, which is over a week longer than is provided for in the Local
    Rules. Further, Plaintiffs’ lead counsel has indicated that he will be out of the country through December 10,
    2023, and as such will not face any delay as a result of Defendant’s requested extension. Plaintiffs’ counsel
    was contacted regarding this extension request and Plaintiffs’ counsel has consented to this extension provided
    that the undersigned is agreeable to an extension of Plaintiffs’ response date until January 12, 2024. As such,
    the parties request that the Court enter an Order amending the briefing schedule as follows:

                           Deadline for Defendant to file its Motion to Dismiss:                                    December 11, 2023

                           Deadline for Plaintiffs to file Response to Motion:                                      January 12, 2024

                Thank you for your consideration of this matter.




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Hon. Mary Kay Vyskocil
November 21, 2023

                                               Respectfully Submitted,

                                               OGLETREE, DEAKINS, NASH,
                                               SMOAK & STEWART, P.C.

                                               By: /s/ Kelly M. Cardin
                                                   Kelly M. Cardin
                                               599 Lexington Avenue, 17th Floor
                                               New York, New York 10022
                                               212.492.2500
                                               Attorney for Defendant UGS Herman, LLC
     cc: All counsel of record (by ECF)




      GRANTED. Defendant's motion is due December 11, 2023. Plaintiffs'
      opposition is due January 12, 2024. Defendant's reply is due January
      26, 2024. SO ORDERED.

                    11/21/2023
